Case 2:05-cr-20241-.]DB Document 15 Filed 07/07/05 Page 1 of 2 Page|D 12

 

 

 

 

IN THE UNITED sTATEs DIsTRICT CoURT fit-1551 `~' '
FoR THE WEsTERN DISTRICT oF TENNES sEE __ l
WESTERN DIvIsIoN 95 J='JL “7 th 7= 2b
UNITED STATES oF AMERICA
V.
RICHARI) R. vALENZUELA 05cr20241-B
oRDER oN ARRAIGNMENT

 

This cause came to be heard On Q¢,¢L é, 3005 the Um`ted Scates Artomey

for this district appeared on behalf of the¥)vernthent,/and the defendant appeared in person and With
counsel:

NA C'¢ f who is Retained/Appointed.

The defendant, through counse], waived formal arraignment and entered a plea of not guilty.

Ail motions shall be filed within thirty (30) days from the date hereof unless, for good cause
shown to a District Judge, such period is extended.

The defendant, Who is not in custo , may stand on his 1' nt bond.
C/'l§defendant, (not haviyade}l;nd) (being a s e prisoner) (being a federal
prisoner) (being held Without b nd pursuant to BRA of 984), is remanded to the custody

of the U.S. Marshal.
/""'"__" .

UNITED STATES MAGISTRATE ]UDGE

 

 

CHARGES ~ 18:22529(3)(4)(3)
ACTIVITIES RE MATERIAL CoNsTITUTING/CONTAINING CHILD PoRNo

Attorney assigned to Case: G. Gilluly m ,.O“-.p/\'\ance
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UNITED sTATE D"ISIC CoURT - WESTRNE D'S'TRCT oFTENNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 15 in
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July 7, 2005 to the parties listed.

 

 

Dan Newsom

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Honorable .l. Breen
US DISTRICT COURT

